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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                             CR 17–12–M–DLC–3

                      Plaintiff,
                                                              ORDER
        vs.

 DARCY LEE SEGAL,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on August 10, 2017. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Darcy Lee Segal’s guilty plea

after Segal appeared before him pursuant to Federal Rule of Criminal Procedure

11, and entered a plea of guilty to one count of wire fraud in violation of 18 U.S.C.

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§ 1343 (Count 9) and one count of aggravated identity theft in violation of 18

U.S.C. § 1028A(a)(1) (Count 19), as set forth in the Indictment. In exchange for

Defendant’s plea, the United States has agreed to dismiss Count 1 of the

Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

100), and I adopt them in full, including the recommendation to defer acceptance

of the Plea Agreement until sentencing when the Court will have reviewed the

Plea Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Darcy Lee Segal’s motion to change

plea (Doc. 71) is GRANTED and Darcy Lee Segal is adjudged guilty as charged in

Counts 9 and 19 of the Indictment.

      DATED this 25th day of August, 2017.




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